               Case 19-11466-MFW         Doc 1965-1    Filed 12/10/20    Page 1 of 5




                                          EXHIBIT A

                        INDEX OF PROFESSIONALS’ FEE APPLICATIONS


                               DEBTORS’ PROFESSIONALS
I.       SAUL EWING ARNSTEIN & LEHR LLP (Counsel to Debtors)
         Third Interim Fee Application of Saul Ewing Arnstein & Lehr LLP, Counsel to the
         Debtors, for Allowance of Compensation and Reimbursement of Expenses for the Period
         from January 1, 2020 through March 31, 2020 [Docket No. 1893; filed: 11/13/20]

         i.        Certification of No Objection for Third Interim Fee Application of Saul Ewing
                   Arnstein & Lehr LLP [Docket No. 1953; filed: 12/04/20]

                   Related Documents:

                   A.     Seventh Monthly Fee Application of Saul Ewing Arnstein & Lehr LLP,
                          Counsel to the Debtors, for Allowance of Compensation and
                          Reimbursement of Expenses for the Period from January 1, 2020 through
                          January 31, 2020 [Docket No. 1568; filed: 04/09/20]

                          i.     Certification of No Objection for Seventh Monthly Fee
                                 Application of Saul Ewing Arnstein & Lehr LLP [Docket No.
                                 1612; filed: 05/01/20]

                   B.     Eighth Monthly Fee Application of Saul Ewing Arnstein & Lehr LLP,
                          Counsel to the Debtors, for Allowance of Compensation and
                          Reimbursement of Expenses for the Period from February 1, 2020 through
                          February 29, 2020 [Docket No. 1613; filed: 05/05/20]

                          i.     Certification of No Objection for Eighth Monthly Fee Application
                                 of Saul Ewing Arnstein & Lehr LLP [Docket No. 1640; filed:
                                 05/27/20]

                   C.     Ninth Monthly Fee Application of Saul Ewing Arnstein & Lehr LLP,
                          Counsel to the Debtors, for Allowance of Compensation and
                          Reimbursement of Expenses for the Period from March 1, 2020 through
                          March 31, 2020 [Docket No. 1638; filed: 05/27/20]

                          i.     Certification of No Objection for Ninth Monthly Fee Application
                                 of Saul Ewing Arnstein & Lehr LLP [Docket No. 1672; filed:
                                 06/17/20]




37637603.1 12/10/2020
               Case 19-11466-MFW          Doc 1965-1     Filed 12/10/20    Page 2 of 5




II.      KLEHR HARRISON HARVEY BRANZBURG LLP (Special Counsel to Debtors)
         First Interim Fee Application of Klehr Harrison Harvey Branzburg LLP for Payment of
         Compensation and Reimbursement of Expenses as Special Counsel to the Debtors for the
         Period from July 7, 2019 through September 30, 2019 [Docket No. 1902; filed:
         11/17/20]

         i.        Certification of No Objection for First Interim Fee Application of Klehr Harrison
                   Harvey Branzburg LLP [Docket No. 1961; filed: 12/08/20]

                   Related Documents:

                   A.     First Monthly Fee Application of Klehr Harrison Harvey Branzburg LLP
                          for Payment of Compensation and Reimbursement of Expenses as Special
                          Counsel to the Debtors for the Period from June 30, 2019 through July 31,
                          2019 [Docket No. 1274; filed: 01/02/20]

                          i.     Certification of No Objection for First Monthly Fee Application of
                                 Klehr Harrison Harvey Branzburg LLP [Docket No. 1408; filed:
                                 02/14/20]

                   B.     Second Monthly Fee Application of Klehr Harrison Harvey Branzburg
                          LLP for Payment of Compensation and Reimbursement of Expenses as
                          Special Counsel to the Debtors for the Period from August 1, 2019
                          through August 31, 2019 [Docket No. 1275; filed: 01/02/20]

                          i.     Certification of No Objection for Second Monthly Fee Application
                                 of Klehr Harrison Harvey Branzburg LLP [Docket No. 1409;
                                 filed: 02/14/20]

                   C.     Third Monthly Fee Application of Klehr Harrison Harvey Branzburg LLP
                          for Payment of Compensation and Reimbursement of Expenses as Special
                          Counsel to the Debtors for the Period from September 1, 2019 through
                          September 30, 2019 [Docket No. 1276; filed: 01/02/20]

                          i.     Certification of No Objection for Third Monthly Fee Application
                                 of Klehr Harrison Harvey Branzburg LLP [Docket No. 1410;
                                 filed: 02/14/20]

                         COMMITTEE’S PROFESSIONALS
III.     SILLS CUMMIS & GROSS P.C. (Counsel to the Official Committee of Unsecured
         Creditors)
         Third Quarterly Application of Sills Cummis & Gross P.C. for Allowance of
         Compensation for Services Rendered and for Reimbursement of Expenses as Counsel to
         the Official Committee of Unsecured Creditors, for the Period from January 1, 2020
         through March 31, 2020 [Docket No. 1896; filed: 11/13/20]


                                                   2
37637603.1 12/10/2020
               Case 19-11466-MFW         Doc 1965-1     Filed 12/10/20    Page 3 of 5




         i.        Certification of No Objection for Third Quarterly Application of Sills Cummis &
                   Gross P.C. [Docket No. 1956; filed: 12/07/20]

                   Related Documents:

                   A.     Seventh Monthly Application of Sills Cummis & Gross P.C. for
                          Allowance of Compensation for Services Rendered and for
                          Reimbursement of Expenses as Counsel to the Official Committee of
                          Unsecured Creditors for the Period from January 1, 2020 through January
                          31, 2020 [Docket No. 1483; filed: 03/18/20]

                          i.     Certification of No Objection for Seventh Monthly Application of
                                 Sills Cummis & Gross P.C. [Docket No. 1567; filed: 04/08/20]

                   B.     Eighth Monthly Application of Sills Cummis & Gross P.C. for Allowance
                          of Compensation for Services Rendered and for Reimbursement of
                          Expenses as Counsel to the Official Committee of Unsecured Creditors for
                          the Period from February 1, 2020 through February 29, 2020 [Docket No.
                          1624; filed: 05/14/20]

                          i.     Certification of No Objection for Eighth Monthly Application of
                                 Sills Cummis & Gross P.C. [Docket No. 1658; filed: 06/04/20]

                   C.     Ninth Monthly Application of Sills Cummis & Gross P.C. for Allowance
                          of Compensation for Services Rendered and for Reimbursement of
                          Expenses as Counsel to the Official Committee of Unsecured Creditors for
                          the Period from March 1, 2020 through March 31, 2020 [Docket No.
                          1625; filed: 05/14/20]

                          i.     Certification of No Objection for Ninth Monthly Application of
                                 Sills Cummis & Gross P.C. [Docket No. 1659; filed: 06/04/20]

IV.      FOX ROTHSCHILD LLP (Delaware Counsel to the Official Committee of
         Unsecured Creditors)
         Third Interim Application of Fox Rothschild LLP for Compensation for Services
         Rendered and Reimbursement of Expenses as Counsel to the Official Committee of
         Unsecured Creditors for the Period January 1, 2020 through March 31, 2020 [Docket No.
         1886; filed: 11/12/20]

         i.        Certification of No Objection for Third Interim Fee Application of Fox
                   Rothschild LLP [Docket No. 1955; filed: 12/07/20]

                   Related Documents:

                   A.     Sixth Monthly Fee Application of Fox Rothschild LLP for Services
                          Rendered and Reimbursement of Expenses as Counsel to the Official


                                                  3
37637603.1 12/10/2020
               Case 19-11466-MFW         Doc 1965-1      Filed 12/10/20    Page 4 of 5




                          Committee of Unsecured Creditors for the Period January 1, 2020 through
                          January 31, 2020 [Docket No. 1434; filed: 02/27/20]

                          i.     Certification of No Objection for Sixth Monthly Fee Application
                                 of Fox Rothschild LLP [Docket No. 1489; filed: 03/19/20]

                   B.     Seventh Monthly Fee Application of Fox Rothschild LLP for Services
                          Rendered and Reimbursement of Expenses as Counsel to the Official
                          Committee of Unsecured Creditors for the Period February 1, 2020
                          through February 29, 2020 [Docket No. 1504; filed: 03/25/20]

                          i.     Certification of No Objection for Seventh Monthly Fee
                                 Application of Fox Rothschild LLP [Docket No. 1585; filed:
                                 04/17/20]

                   C.     Eighth Monthly Fee Application of Fox Rothschild LLP for Services
                          Rendered and Reimbursement of Expenses as Counsel to the Official
                          Committee of Unsecured Creditors for the Period March 1, 2020 through
                          March 31, 2020 [Docket No. 1589; filed: 04/17/20]

                          i.     Certification of No Objection for Eighth Monthly Fee Application
                                 of Fox Rothschild LLP [Docket No. 1623; filed: 05/14/20]

V.       BERKELEY RESEARCH GROUP, LLC (Financial Advisor to the Official
         Committee of Unsecured Creditors)
         Third Interim Fee Application of Berkeley Research Group, LLC for Compensation for
         Services Rendered and Reimbursement of Expenses Incurred as Financial Advisor to the
         Official Committee of Unsecured Creditors During the Period from January 1, 2020
         through March 31, 2020 [Docket No. 1897; filed: 11/17/20]

         i.        Certification of No Objection for Third Interim Application of Berkeley Research
                   Group, LLC [Docket No. 1963; filed: 12/09/20]

                   Related Documents:

                   A.     Fifth Monthly Fee Application of Berkeley Research Group, LLC
                          Berkeley Research Group, LLC for Compensation for Services Rendered
                          and Reimbursement of Expenses Incurred as Financial Advisor to the
                          Official Committee of Unsecured Creditors During the Period from
                          January 1, 2020 through February 29, 2020 [Docket No. 1544; filed:
                          04/01/20]

                          i.     Certification of No Objection for Fifth Monthly Application of
                                 Berkeley Research Group, LLC [Docket No. 1600; filed:
                                 04/22/20]



                                                   4
37637603.1 12/10/2020
               Case 19-11466-MFW      Doc 1965-1     Filed 12/10/20   Page 5 of 5




                   B.   Sixth Monthly Fee Application of Berkeley Research Group, LLC
                        Berkeley Research Group, LLC for Compensation for Services Rendered
                        and Reimbursement of Expenses Incurred as Financial Advisor to the
                        Official Committee of Unsecured Creditors During the Period from March
                        1, 2020 through March 31, 2020 [Docket No. 1634; filed: 05/22/20]

                        i.    Certification of No Objection for Seventh Monthly Application of
                              Berkeley Research Group, LLC [Docket No. 1667; filed:
                              06/12/20]




                                               5
37637603.1 12/10/2020
